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                          UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF NEW HAMPSHIRE


United States of America

                V.                                      Criminal No . 09-cr-41-1, 2, 4-JL

Sandy Rodri2uez Brito, et al .


                                              ORDE R


        The assented to motion to reschedule jury trial (document no . 37) filed by defendant Manuel

Perez is granted . All three trial-bound defendants joined in this motion at today's chambers

conference. Trial is continued into the October 2009 trial period .

        Defendant Perez shall file a waiver of speedy trial rights within 10 days . The court finds that

the ends of justice served by granting a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U .S.C. § 3161(h)(8)(B)(iv), for the reasons set forth in the motion .

        Further, defendant Perez's motion to suppress arrest warrant (document #33) was withdrawn,

although a similar motion may be filed in its place . Any further suppression motions, by any party ,

will be filed no later than July 8 .

        SO ORDERED .




                                                        Joseph N . Laplante
                                                        United States District Judg e

Date : June 24, 200 9

cc: Liam Scully, Esq .
       Richard Monteith, Esq .
       Patrick Shanley, Esq .
       Donald Feith, Esq .
       Debra Walsh, Esq .
       U.S . Marshal
       U.S . Probation
